Case 14-12458-amc         Doc 475     Filed 01/26/16 Entered 01/26/16 16:08:28              Desc Main
                                     Document      Page 1 of 4



                            IN THE UNITED STATES BANKRUPTCY COURT                           Fn..FD
                          FOR THE EASTERN DISTRICT OF PENNSYLAVANIA                                    —^


IN RE: Campisi Construction, In.                       BKY. NO. 14-12458 jkf             JAN 9 P 2 016

                       Debtor                  :       CHAPTER?                |    TIMOIHY
                                                                                                      PER LLLRK
                             RESPONSE OF CREDITOR, GEORGE CAMPISI
                            TO MOTION FOR APPROVAL OF SETTLEMENT

        George Campisi, responds and objects to the Motion for Approval of Settlement
as follows:

        1. The settlement and Stipulation presupposes that the ECl claim is secured by the
Cornerstone funds based upon a garnishment judgment against Cornerstone in the ECl state court
action dated December 23, 2013.

        2. Creditor, George Campisi has a valid security interest in the Cornerstone receivable by
virtue of a UCC-1 Financing Statement filed with the Secretary of the Commonwealth on August 20,
2013. A copy of the Financing Statement is attached hereto as Exhibit "A".

       3. The settlement and Stipulation proposes for the Estate and ECl to share in the
Cornerstone receivable in derogation of George Campisi's prior security interest in the collateral.

       4. The settlement proposes to withdraw the Debtor's Objections to ECl Claims
Nos. 7,8, and 11 and the Debtor's Objection to the Cougar Claim No. 9.

        5. Cougar's Claim No. 9 is for unpaid rent allegedly owed to Cougar (assignee
of the original Lessor) in the amount of $189,955.67

        6. Upon information, pursuant to the Lease, Debtor was not liable for rent if the
Lessor was unable to deliver possession by March 1, 2008.

       7. Upon information, by letter dated April 2, 2008, a letter of termination of the
Lease was sent to Lessor indicating that Debtor had not received possession by March
1, 2008, and within 30 days thereafter.

       8. Upon information. Cougar admitted in its Amended Complaint in the state
Court action that the possession was not able to be delivered by April 25, 2008.

        9. It appears that this claim should not be allowed.

       10. ECl's Claim No. 11 is for attorneys fees allegedly owed to it by the Debtor in
the amount of $64,441.21. Attached to the Proof is a Motion for Attorneys Fees filed in
the Court of Common Pleas of Montgomery County on March 17, 2014. Said Motion
was never heard of ruled upon.
Case 14-12458-amc         Doc 475     Filed 01/26/16 Entered 01/26/16 16:08:28             Desc Main
                                     Document      Page 2 of 4




         11. ECl has provided no documentation of it alleged attorney fees, or any
justification that the fees are due and owed to it, or that they are reasonable or fair.

        12. It appears this claim should not be allowed.

        13. The settlement appears to provide for ongoing payment of ECl's attorneys
fees.

       14. The Motion indicates that the Adversary Action No. 14-00616 shall be
withdrawn with prejudice as to ECl and Cougar, but without prejudice to Cornerstone.
The Stipulation indicates that the Adversary shall terminated as to Cornerstone and
Creditor, ECl, without prejudice.

       15. The settlement and Stipulation is in derogation of the rights of Answering Creditor in
the Cornerstone funds and is not in the best interest of creditors.

        WHEREFORE, Creditor respectfully requests that the Court require the Movant
to show that the settlement in fair and equitable and in the best interests of the
creditors.
Case 14-12458-amc                                         Doc 475                                Filed 01/26/16                                Entered 01/26/16 16:08:28                                                                 Desc Main
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                                                                                                                                                                                                            Secretary of Ihe CommonV/Mlt^
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                       Anthony Campisi                                                                                                                                                BsrctKf (05 6;g to fit iii :hh aroa
                       21OS Bustard Road
                       Lansdals PA 19«6 Fax: (610) 222-4903


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        Case 14-12458-jkf       Claim 22-1 Document
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